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UN|TED STATES DISTR¥CT COURT
DiSTRlCT OF CONNECT|CUT

 

 

WEND| GOLDBERG & JASON GOLDBERG ) CIV|L ACT|ON
Plaintiffs )
)
) COMPLA|NT
v. )
)
FAlR COLLECTIONS & OUTSOURCING )
OF NEW ENGLAND, |NC. )
Defendant )
) MAY 21 , 2010
CONIPLA|NT
l. lNTRODUCT|ON

1. This is a suit brought by two consumers Who have been harassed and
abused by Detendant collection agency 'E"nis action is for violations of the Fair De`oi:
Co|lection Practices Act (“FDCPA”), '15 U.S.C. §§ 1692 et seq. and also includes

pendent state law claim for intentional infliction of emotional distressl

it. PARTiES
2. Plaintiff Jason Go|dberg is a natural person residing in Bristo|, Connecticut.
3. Plaintif'f Wendi Go|dberg is a natural person residing in Bristo|, Connecticut
and is the Wife of Piaintiff Jason Goldberg.
4. The defendanta Fair Colieotions & Outsourcing of New England, |nc. (“FCO”),
is a corporation located in i\/iaryiand and is licensed as a Consumer Col|ection Agency

With the Connecticut Department of Banking.

 

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tll. JURiSD|CTlON
5. durisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28
U.S.C. §§ 1331 and 1337, and Fed. R. Civ. P. 18(a),
6. This Court has jurisdiction over FCO because it engages in debt ooilection
Within Connecticut.
7. Venue in this Court is proper, as the P|aintiffs are residents and the acts

complained of occurred in this state.

lV. FACTUAL ALLEGATIONS

8. in .}anuary 2010, FCO began contacting Ptaintiffs about an alleged debt owed
to an apartment company named Rivers Edge.

9. The alleged debt related to a lease entered into between P|ain'tiffs and Rivers
Edge eight years prior.

10.0n or around January 20, 2010, FCO caiied and spoke with P|aintiffs.

11.FCO stated that it had called P|aintiff Jason Go|dberg’s father and Piaintiffs’
triend, and FCO threatened to sue Jason Go|dt)erg’s father and Ptaintiffs’ friend and
negativeiy report on their credit reports it P|aintiffs did not pay the alleged debt.

12, During that same conversation, P|aintiff Wendi Goldberg requested that FCO
send them a written notice of their rights, and FCO replied that it did not have to send
P|aintiffs any such notice, and it claimed ali it was required to do was send Plaintiffs
verification of the debt.

13. Plaintiff Jason Goldberg’s father and P|aintiffs’ friend were not co-signors on

the aforementioned lease.

 

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14.0n or around January 21, 2010, FCO sent P|aintifls a letter in verification of
the alleged debt.
V. CLA!MS FOR RELiEF

F|RST CAUSE OF ACTION
Vioiations of Fair Debt Coiiection Practices Act, 15 U.S.C. §§ 1692 et seg.

15. P|aintiffs incorporate Paragraphs 1-14.

16.FCO violated the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §
1692e, 1692e(2)(A), 1692e(5),1692e(11), and1692f_

17. For FCO’s violations of the i-'air Debt Collection Practices Act as described
above, P|aintitfs are entitled to recover their actual damages, statutory damages of

$1,000.00, and reasonable attorney’s fees, pursuant to 15 U.S.C. § 1692k.

SECOND CAUSE OF ACT|ON
intentional lnfliction of Emotional Distress

18.P|aintiffs incorporate Paragraphs 1-14.

19. FCO knew, or reasonably should have known, that their actions would likely
cause emotional distress to Plaintiffs.

20. FCO’s conduct did cause Plaintifls to suffer emotional distress,
embarrassment, shame, stress and anxiety

21 . FCO’s actions were willful, wanton and malicious, in that they intended to
cause P|alntiffs distress to induce them to pay the debt, in hopes that Plaintifis would
pay in order to relieve the stress.

22. FCO is liable to Plaintiffs for their damages.

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VVHEREFORE, the Plaintifis seek recovery of their actual damages (iric|uding
emotional distress related damages) pursuant to 15 U.S.C. § 1692k; statutory damages
pursuant to 15 U.S.C. § 1692i<; attorney’s fees and costs pursuant to 15 U.S.C. §

1692k; and such other relief as this Court deems appropriate

PLAlNTlFFS, WENDI & JASON GOL.DBERG

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